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                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

STEPHEN KNUTH,

                Plaintiff,

v.                                                      CASE NO: 3:16-cv-00714-MMH-JRK

Department Stores National Bank,

                Defendant.
                                                    /

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                    AND RESPONSE TO ORDER TO SHOW CAUSE

       PLAINTIFF STEPHEN KNUTH and DEFENDANT DEPARTMENT STORES

NATIONAL BANK, pursuant to Federal Rule of Civil Procedure 41(a), stipulate that the matters

between them have been resolved and therefore request this Honorable Court to dismiss

Plaintiff’s claims, with prejudice, against Defendant, with each party to bear its own fees and

costs. The parties apologize to the Court for delay in filing the case management agreement as

the parties were finalizing a settlement and stipulation of dismissal in this matter.

Respectfully Submitted,

DAVIS LAW FIRM                                      AKERMAN LLP


s/Todd M. Davis                                     s/John L. Dicks
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on AUGUST 17, 2016, I e-filed this document using the

CM/ECF system. I further certify that I am unaware of any non-CM/ECF participants.

                                                        /s/TODD M. DAVIS
                                                        Todd M. Davis




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